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Ryan Dillon-Capps

From: Ryan Wagner

Sent: Thursday, January 4, 2024 12:24 PM

To: Rich Hartman; Glenn Norris; Justin Drummond
Ce: hbutler@milesstockbridge.com

Subject: FMLA Notice for Mental Health

Subject: FMLA Notice for Mental Health
Dear HR,

| am writing to inform you that | will be taking leave under the Family and Medical Leave Act (FMLA) for mental
health reasons.

This letter is a follow-up to my email on 21 December 2023, in which | informed Glenn Norris, Justin
Drummond, and Rich Hartman that | needed to take some time off. | asked for time off to recover, | asked for
help, and | asked for some reprieve because the hostile work environment, excessive hours, and the
investigation were negatively affecting me physically, emotionally, and mentally. This has not happened, and |
have been experiencing daily panic attacks that sometimes last hours, severe anxiety, and every part of my life
has been negatively affected.

| am re-requesting a thorough investigation into several unusual and concerning discoveries that appear to
contain accounting irregularities, libel, and fraud. | request that the investigation into the allegations of a hostile
work environment resume immediately. | also ask that appropriate actions be taken against those responsible
in accordance with company policies and applicable laws.

| find it deeply troubling that HR has denied any knowledge of my previous reports nor any knowledge of formal
reprimands against those responsible for creating a hostile work environment. This contradicts meetings with
the CEO, myself, and these individuals where they were reprimanded and instructed to stop, and contradicts
what | was told by the CFO when | asked if the CEO knew about the incidents that occurred after those
meetings. The CFO said that the CEO had formally reprimanded the CDO in 2023. According to the email that
the CFO inadvertently showed me during a shared screen video call, the head of HR immediately notified the
CDO and CMO that | had filed a formal complaint against them.

After reporting the missing invoices and payments to Onsite Solutions, we notified them, and they immediately
submitted hundreds of thousands of dollars worth of invoices. However, | would like to know if these invoices
can account for the discrepancy extending further back than the last several months. My requests for additional
team members have been denied every time despite providing detailed information about my team’s workload
being too high and how | was already working excessive hours to prevent my team from experiencing the
entirety of the excess. After reporting the accounting irregularities and subsequent suspicious emails that
appeared to contain libel and fraud, my workload began to increase dramatically, the frequency of our
meetings increased, and the deadlines for these requests decreased to the point that | was being asked to
provide complete analyses by the next meeting, which was sometimes the next day.

When the investigation began, | pleaded for us to bring in a digital forensic expert to take over because it
overlapped the hostile work environment. | was forced to read the emails and conversations of those
responsible for the hostile work environment between themselves and others. Communications explained why
| had encountered so much hostility and disdain from people | never or rarely interacted with and why it was
considered acceptable for a person to start yelling at me randomly. It explained how my interaction with the
accounts payable manager, to which | was asking her questions about what she needed and wanted, resulted
in another member of the accounts payable team yelling at me to “just get her what she wants.” Since being
yelled at without cause had become normalized, | responded, “That is the plan and why | am asking her
questions.” It explains all of those things and more because those responsible for the hostile work environment
1

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were engaging in a campaign to turn others against me and portray me as a monster who goes out of their way
to make the lives of others difficult. As anyone who has spent significant time with me can tell you, this is the
polar opposite of who | am.

You do not need me to be involved: | do not need to be forced to relive these events. Shannon Anderson made
the complaint in August of 2021 and is available to speak to. The emails and communications provide more
than enough information on everything | have already mentioned and so much more.

| appreciate your understanding and support during this time. | will contact you as soon as | have more
information about my return date.

Thank you,
Ryan Wagner

This message may include text created with the help of natural language pracessing.

_s Book time to meet with me
Ryan Wagner
Vice President of IT
Ohana Growth Partners, LLC

24% Pade aR

O HA N A rimonium, MD 21093

www. Olanetfitness.com

“Culture eats strategy for breakfast”

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Amarleans with Disabilities Act of 1990
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Notice of Eligibility & Rights and Responsibilities U.S. Department of Labor om oe
under the Family and Medical Leave Act Wage and Hour Division S=a)

WAGE AND HOUR DIVISION
DO NOT SEND TO THE DEPARTMENT OF LABOR. OME Control Number: 1235-0003
PROVIDE TO EMPLOYEE. Fxpires: @ 30,2023

In general, to be eligible to take leave under the Family and Medical Leave Act (FMLA), an employee must have worked
for an employer for at least 12 months. meet the hours of service requirement in the [2 months preceding the leave. and
work at a site with at least 50 emplovees within 75 miles. While use of this form is optional, a fully completed Form WH-
381 provides employees with the information required by 29 C.F.R. §§ 825.300(b), (c) which must be provided within five
business days of the employee notifying the employer of the need for FMLA leave. Information about the FMLA may be
found on the WHD website at www.dolvov agenctes whd fmla.

Date: 01/08/24

(nt dd vavvs

From: Karen Debus (Emplover) To: Ryan Wagner (ployee)

01/04/24

On 01/04/24 fumed vw, We learned that vou need leave (heginnite vn) (ainedd VWwvv)

for one of the following reasons: (Select as appropriate)

O The birth of a child, or placement of a child with you for adoption or foster care, and to bond with the newborn or
newly-placed child

HM Your own serious health condition

O You are needed to care for your family member due to a serious health condition. Your family member is your:

DO Spouse CO Parent O Child under age 18 = Child 18 years or older and incapable of self-
care because of a mental or physical disability
O A qualifying exigency arising out of the fact that your family member is on covered active duty or has been notified of
an impending call or order to covered active duty status. Your family member on covered active duty is your:

XO Spouse DO Parent O Child of any age

>

O You are needed to care for your family member who is a covered servicemember with a serious injury or illness. You
are the servicemember’s:

OO Spouse CO Parent 0 Child O Next of kin

Spouse means a husband or wife as defined or recognized in the state where the individual was married, including in a common law
mariage or same-sex marriage. The terms “child” and “parent” include #7 /oce paresis relaionships in which a person assumes the
obligations of a parent to a child. An emplovee may take FMLA leave to care for an individual who assumed the obligations of a parent
to the emplovee when the emplovee was a child. An emplovee mav also take FMLA leave to care for a child for whom the emplovee
has assumed the obligations of a parent. No legal or biological relationship is necessary.

SECTION I — NOTICE OF ELIGIBILITY

This Notice is to inform you that you are:
HM Eligible for FMLA leave. (See Section I for any Additional Information Needed and Section HI for information on vour Rights
and Responsibilities.)
O Not eligible for FMLA leave because: (Only one reason need he checked)
O You have not met the FMLA’s |2-month length of service requirement. As of the first date of requested leave.

you will have worked approximately: towards this requirement.
(OTS)

O You have not met the FMLA’s 1.250 hours of service requirement. As of the first date of requested leave, you

will have worked approximately: towards this requirement.
fhours of service)

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Ryan Wagner

Employee Name:

O Youare an airline flight crew employee and you have not met the special hours of service eligibility requirements
for airline flight crew employees as of the first date of requested leave (1.c.. worked or been paid for at least 60%
of your applicable monthly guarantee. and worked or been paid for at least 504 duty hours.)

DO You do not work at and. or report to a site with 50 or more employees within 75-miles as of the date of your
request.

If you have any questions, please contact: Karen Debus/410-252-8058 x117
at Karen.debus@ohanagp.com/212 W. Padonia Rd., Timonium, MD 21093

(Name of employer representative)

(Contact fiformaations,

SECTION II — ADDITIONAL INFORMATION NEEDED

As explained in Section I, you meet the eligibility requirements for taking FMLA leave. Please review the information
below to determine if additional information is needed in order for us to determine whether your absence qualifies as FMLA
leave. Once we obtain any additional information specified below we will inform you. within 5 business days, whether
your leave will be designated as FMLA leave and count towards the FMLA leave you have available. If complete and
sufficient information is not provided in a timely manner, your leave may be denied.

(Select as appropriate)

O No additional information requested. If no additional information requested, go to Section HL

1 We request that the leave be supported by a certification. as identified below.

@ Health Care Provider for the Employee QO) Health Care Provider for the Employee's Family Member
O Qualifying Exigency O Serious Illness or Injury (Milne Caregiver Leaves

Selected certification form is BJ attached /O1 not attached.

If requested, medical certification must be returned by 01/20/24 (avd way (Must allow atleast 15
calendar days from the dare the emplover requested the emplovee to provide certification, unless itis not feasible despite the employee's
diligent, good faith efforts.)

O1 We request that you provide reasonable documentation or a statement to establish the relationship between you and
your family member. including #7 /oce parentis relationships (as explained on page one). The information requested
must be returned to us by cae dé ave. You may choose to provide a simple statement of the
relationship or provide documentation such as a child's birth certificate. a court document, or documents regarding
foster care or adoption-related activities. Official documents submitted for this purpose will be returned to you after
examination.

O Other information needed (e.g. documentation for military family leave):

The information requested must be returned to us by (inne ded wv).

If you have any questions, please contact: Karen Debus/410-252-8058 x117
at Karen.debus@ohanagp.com/212 W. Padonia Rd., Timonium, MD 21093

(Neane of employer represcmanve)

(Cantaer riformarion).

SECTION III — NOTICE OF RIGHTS AND RESPONSIBILITIES
Part A: FMLA Leave Entitlement

You have a right under the FMLA to take unpaid. job-protected FMLA leave ina |2-month period for certain family and
medical reasons. including up to 12 weeks of unpaid leave in a 12-month period for the birth of a child or placement of a
child for adoption or foster care. for leave related to your own or a family member's serious health condition, or for certain
qualifying exigencies related to the deployment of a military member to covered active duty. You also have a right

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Ryan Wagner

Employee Name:

under the FMLA to take up to 26 weeks of unpaid. job-protected FMLA leave in a single |2-month period to care for a
covered servicemember with a serious injury or tllness (Weilitary Caregiver Leave).
The ]2-month period for FMLA leave is calculated as: (Selecy us appropriaie?

O The calendar year January |“ - December 31”)

O A fixed leave year based on

fe.g.. a fiscal vear beginning on July 1 and ending on dure 30)
M The !2-month period measured forward from the date of your first FMLA leave usage.

O A“rolling” |2-month period measured backward from the date of any FMLA leave usage. (Each time an employee
takes FMLA leave, the remaining leave is the balance of the 12 weeks not used during the 12 months immediately before
the FMLA leave is to start.)

If applicable, the single 12-month period for Military Caregiver Leave started on (mak vv),

You (@ are /O are not) considered a key employee as defined under the FMLA. Your FMLA leave cannot be denied for
this reason: however, we may not restore vou to employment following FMLA leave if such restoration will cause
substantial and grievous economic injury to us.

We (0 have / @ have not) determined that restoring you to employment at the conclusion of FMLA leave will cause
substantial and grievous economic harm to us. Additional information will be provided separately concerning your status
as key employee and restoration,

Part B: Substitution of Paid Leave— When Paid Leave is Used at the Same Time as FMLA Leave

You have a right under the FMLA to request that your accrued paid leave be substituted for your FMLA leave. This means
that you can request that your accrued paid leave run concurrently with some or all of your unpaid FMLA leave. provided
you meet anv applicable requirements of our leave policy. Concurrent leave use means the absence will count against both
the designated paid leave and unpaid FMLA leave at the same time. If vou do not meet the requirements for taking paid
leave. you remain entitled to take available unpaid FMLA leave in the applicable |?-month period. Even if you do not
request it. the FMLA allows us to require you to use vour available sick, vacation, or other paid leave during your FMLA
absence.

(Check all that apply)

@ Some or all of your FMLA leave will not be paid. Any unpaid FMLA leave taken will be designated as FMLA
leave and counted against the amount of FMLA leave you have available to use in the applicable |2-month period.

O You have requested to use some or all of your available paid leave e.g. sick. vacation, PTO) during your FMLA
leave. Any paid leave taken for this reason will also be designated as FMLA leave and counted against the amount of
FMLA leave you have available to use in the applicable |2-month period.

M We are requiring you to use some or all of your available paid leave (e.g. sick. vacation, PTO) during your FMLA
leave. Any paid leave taken for this reason will also be designated as FMLA Icave and counted against the amount of
FMLA leave you have available to use in the applicable |2-month period.

C1 Other: re.g.. shert- or long-term disability. workers’ compensation, state medical leave law, ete.i
Any time taken for this reason will also be designated as FMLA leave and counted against the amount of
FMLA leave you have available to use in the applicable |2-month period.

The applicable conditions for use of paid leave include:

For more information about conditions applicable to sick vacation other paid leave usage please refer to

Employee Handbook available a. Paycom Employee Self Service Portal

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Employee Name: Ryan Wagner

Part C: Maintain Health Benefits

Your health benefits must be maintained during any period of FMLA leave under the same conditions as if you continued
to work. During any paid portion of FMLA leave. your share of any premiums will be paid by the method normally used
during any paid leave. During any unpaid portion of FMLA leave, you must continue to make any normal contributions to
the cost of the health insurance premiums. To make arrangements to continue to make your share of the premium payments
on your health insurance while you are on any unpaid FMLA leave. contact Karen Debus/410-252-8058 at
karen.debus@ohanagp.com

You have a minimum grace period of (MH 30-davs or O indicate longer period, if applicable) in which to
make premium payments. If payment is not made timely, your group health insurance may be cancelled, provided we notify
you in writing at least 15 days before the date that your health coverage will lapse. or, at our option, we may pay vour share
of the premiums during FMLA leave. and recover these payments from you upon vour return to work.

You may be required to reimburse us for our share of health insurance premiums paid on your behalf during your FMLA
leave if you do not return to work following unpaid FMLA leave for a reason other than: the continuation, recurrence. or
onset of your or your family member's serious health condition which would entitle you to FMLA leave: or the continuation,
recurrence, or onset of a covered servicemember’ s serious injury or illness which would entitle vou to FMLA leave: or
other circumstances beyond your control.

Part D: Other Emplovee Benefits

Upon your return from FMLA leave. your other employee benefits, such as pensions or life insurance, must be resumed in
the same manner and at the same levels as provided when your FMLA Icave began. To make arrangements to continue
your employee benefits while you are on FMLA leave. contact Karen Debus

at karen.debus@ohanagp.com

Part E: Return-to-Work Requirements

You must be reinstated to the same or an equivalent job with the same pay. benefits. and terms and conditions of employment
on your return from FMLA-protected leave. An equivalent position is one that is virtually identical to your former position
in terms of pay, benefits, and working conditions. At the end of your FMLA leave, all benefits must also be resumed in the
same manner and at the same level provided when the leave began. You do not have return-to-work rights under the FMLA
if you need Icave beyond the amount of FMLA leave vou have available to use.

Part F: Other Requirements While on FMILA Leave

While on leave you (@ will be / O will not be) required to furnish us with periodic reports of your status and intent to
return to work every month

(dicate interval of periodic reports, as appropriate for the PALLA leave sittcttion).

If the circumstances of your leave change and you are able to return to work earlier than expected,
you will be required to notify us at least two workdays prior to the date vou intend to report for work.

PAPERWORK REDUCTION ACT NOTICE AND PUBLIC BURDEN STATEMENT

It is mandatory for emplovers to provide employees with notice of their eligibility for FMLA protecuon and their rights und
respousibilities. 29 U.S.C. § 2617: 29 CLFLR. § 825.300(b), (¢). IL is mandatory for emplovers to retain a copy of tis disclosure in their
records for three years. 29 U.S.C. § 2616: 29 CLF.R. § 825.500. Persons are nol required to respond to this collection of information
unless it displays a currently valid OMB control number. The Department of Labor estimates that it will take an average of 10 minutes
for respondents to complete this collection of information, including the time for reviewing Instructions, searching existing data sources,
gathering and maintaining the data needed. and completing and reviewing the collection of information. If you have any comments
regarding this burden estimate or any other aspect of this collection information, including suggestions for reducing this burden. send
them to the Administrator, Wage and Hour Division. U.S. Department of Labor. Room $-3502, 200 Constitution Avenue. N.W..
Washington, D.C. 20210.

DO NOT SEND THE COMPLETED FORM TO THE DEPARTMENT OF LABOR. EMPLOYEE INFORMATION.

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From: Ryan Wagner

Sent: Wednesday, January 10, 2024 5:32 PM
To: Rich Hartman

Subject: Clarification of Text Message Requested

@Rich Hartman On 10 January 2024, you sent me the following text message

When | say preclude | mean our practice.
You are correct in that we cannot require
you to work but it is not your choice to
work while on leave. Our policy is to not
allow work while on leave.

Can you please elaborate on what you are saying?

For 3 years, | have virtually never had vacation or personal day of leave where | did not work, and | have also
worked on sick days and company holidays. This is equally true for the rest of the team members in a senior
management or executive position. In the last few weeks, Glenn was on leave and him responding or not
responding to something because he was on leave was a material part of the conversation. After saying | needed
to take same time off, no one — including you, hesitated to reach out to me. | have an out of office message up,
and people read that as a sign that for urgent issues they need to text me.

On Page 30 of the handbook, it shows that we allow for full or partial days of absences from FMLA

Under federal and state law. your salary is subject to certain deductions. For example. unless

state law requires otherwise. your salary ctn be reduced for the following reasans:

« Full-day absences far personal reasons.

« Full-day absences for sickness or disability.

« Full-day disciplinary suspenstons for infractions of our written policies and procedures.
« Family and Medical Leave absences (either full- or partial-day absences}.

¢ To offset amounts received as payment for jury and witness fees or military pav.

e The first or last week of employment in the event yeu work less than a full week.

« Any full work week in which you do not perform any work.

From page 41 through 51 where it talks about our leave policies the only place that | found to use similar language
of "not allowed to work on leave" is on page 45.

D. No Work While on Leave

The taking of another job while on family/medical leave or any other authorized leave of
absence is grounds for immediate termination, to the extent permitted by law.

! of 2

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Except this appears to say that we are not allowed to take another job, not that we are prohibited from performing
the duties for Ohana. Additionally, the reference on page 30 shows that we do not expect everyone to take FMLA
and never perform any work. Logically, it does not make sense to me that Ohana would want the head of IT to
suddenly become completely unavailable, and one would think that the head of IT voluntarily working when,
where, and how they can so that it does not interfere with what they need for FMLA would be an exceptionally good
thing. |am confused as to why you are not happy and celebrating me for my flexibility and dedication to Ohana.

Even if there was a written policy that said we are not allowed to work while on leave. For the same reason that all
of us work while we are on leave, it is for the betterment of Ohana and we do it out of love for the company and
each other.

lf you want to prohibit me from working, then | need to understand why and | will need to know how we are
communicating this out to others since this is a deviation from how we have worked in the past. I.E. Are we going
to send out an email blast and what do | tell peaple when they ask me?

| do not even know right now how the 12 weeks of FMLA will ultimately be broken up. How will people know when |
am back to work and then what are we doing about the times that | return to FMLA leave.

| am not authorizing Ohana to tell people that | am on FMLA leave. With very few exceptions, those who have been
reaching out to me, personally and work related, do not know that | am on FMLA leave.

This message may include text created with the help of natural language processing.

_g Book time to meet with me

Ryan Wagner
Vice President of IT
Ohana Growth Partners, LLC

OHANA Sans

“Culture eats strategy for breakfast”

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Certification of Health Care Provider for U.S. Department of Labor
Employee's Serious Health Condition Wage and Hour Division
under the Family and Medical Leave Act

CMB Canttal Number 124

DO NOT SEND COMPLETED FORM TO THE DEPARTMENT OF LABOR.

RETURN TO THE PATIENT.

The Family and Medical Leave Act (FMLA) provides that an employer may require an employee seeking F MILA protections
because of a need for leave due to 2 serious health condition to submit a medical certification issued by the employees
health care provider. 29 U.S.C. §§ 2613. 2614(c)(3); 29 C.F.R. § 825.305. The employer must give the employee at least
15 calendar days to provide the certification. If the employee fails to provide complete and suffictent medical cert lication,
his or her FMLA leave request may be denied. 29 C.F.R. § 825.313. Information about the FMLA may be found

WHD website at www dol. gow agencies whd tla

SECTION I - EMPLOYER

Either the employee ar the employer may complete Section |. While use of this form is optional. this farm asks the health
care provider for the information necessary for a complete and sufficient medical certification, hich is set out at 29 CFR
§ $25.306. You may not ask the employee to provide more information than allowed under the FMLA regulations,
29 C.F.R. §§ $25.306-825.308. Additionally, you may pot request a certification for FMLA leave to band with a healthy
newbarn child or a child placed for adaption ar faster care.

Employers must generally maintain records and dacuments relating to medical information, medical certifications.
recertifications. or medical histories of emplovees created for FMLA purposes as confidential medical records in separate
files/records from the usual personnel files and in accordance with 29 C.F.R. § 1630.14(C)(1). if the Americans with
Disabilities Act applies. and in accordance with 29 C.F.R. § 1635.9. if the Genetic Information Nondiseriminatian Act
applies.

(1) Employee name: Ryan Wagner —————
Furst Middle Last

(2) Employer name: Ohana Growth Partners Date: 01/08/24 pm dd viv,

(List date certification reqtested |

frum dd vv}

(3) The medical certification must be retumed by 01/24/24
(Must allow at least 15 calendar davs front te date requested, unless it is not feasthle despite the emplavee 's diligent, goad fart efferts }
- Vice President of Information Technology Jeb description (BI is / 0 is not) attached.

40+ hours per week
Work w/executive leadership to develop and maintain IT

(4) Emplovee’s jab title
Employee's regular work schedule:

Statement of the employee's essential job functions:
roadmap and oversee day-to-day operations. / oe ee /
(The essential functions of the employee's position are determined with reference to the posttian the employee held at the ume the emplover
notified the emplover of the need for leave ar the leave started, whichever is carlier |

SECTION II - HEALTH CARE PROVIDER
Please provide your contact information, complete all relevant parts of this Section, and sign the form. Your patient has
requested leave under the FMLA. The FMLA allows an employer to require that the employee submit a timely. complete.
and sufficient medical certification to support a request for FMLA leave due to the serious health condition af the employee.
For FMLA purposes. a “serious health condition” means an illness, injury, impairment, or physical or mental condition that
involves inpatient care or continuing reatinent bv a kealth care provider. For more information about the definitions ata
serious health condition under the FMLA, see the chart on page 4.
sis, OF any regimen

You may, but are not required to, provide ather appropriate medical facts including symptoms. diagna
aws may not allow

of continuing treatment such as the use of specialized equipment. Please nate that some state ar local |
disclosure of private medical information about the patient’s seriqus health condition, such as providing the diagnosis and ‘or

course of treatment.

Form WH-380-E, Revised June 2020

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Employee Name: Ryan Wagner a

Health Care Provider's name: ¢Priny Megan Robison, LCSW-C

Health Care Provider's business address: 1045 Taylor Ave, Suite 211, Towson, MD 21286

Type of practice / Medical specialty: Mental Health Therapy

Telephone: (443) 814-9411 Fax:( )_ si E-mail: Meganrobisonilcswc@gmail.com _

PART A: Medical Information
Limit your response to the medical condition(s) for which the employee is seeking FMLA leave. Your answers should be

your best estimate based upon your medical knowledge. experience. and examination of the patient. After completing
Part A, complete Part B to provide information about the amount of leave needed. Note: For FMLA purposes.
“incapacity” means the inability to work, attend school, or perform regular daily activities due to the condition, treatment
of the condition. or recovery from the candition. Do not provide information about genetic tests, as defined in 29 C.F.R.§
1635.3(f), genetic services. as defined in 29 C.F.R. § 1635.3(e}, or the manifestation of disease or disorder in the employee's
family members. 29 C.F_R. § 1635.3(b).

(1) State the approximate date the condition started or will start: 05/15/13 ram del VV

(2) Provide your best estimate of how long the condition lasted or will last: Chronic/Permanent

(3) Check the box(es) for the questions below, as applicable. For all bex(es) checked, the amount af leave needed must be
provided in Part B.

O Inpatient Care: The patient (00 has been / 0 is expected to be) admitted for an overnight stay tn a hospital.
hospice, or residential medical care facility on the following date(s):

O Incapacity plus Treatment: (e.g. oumparient surgery, strep throat)
Due to the condition. the patient (C1 has been / O is expected to be) incapacitated fer ware thai three

consecutive, full calendar days from (mnvidd vyvy) ta (rene del US.

The patient (O was / 0 will be) seen on the following datefs):

The condition (0 has / 0 has not) also resulted in a course of continuing treatment under the supervision of a
health care provider ¢ g. prescription medication (other than over-the-caunter) or therapy requiring special equipment!
Pregnancy: The condition is pregnancy. List the expected delivery date: rune dad ven.

O Chronic Conditions: (e.g. asthma, migraine headaches} Due to the condition, it is medically necessary for the patient
to have treatment visits at least twice per year.

@ Permanent or Long Term Conditions: fog Atcheimer s, rermuinal stages of cancer! Due ta the condition. incapacity

is permanent or long term and requires the continuing supervision of a health care provider (even if active

treatment is not being provided).

@ Conditions requiring Multinle Treatments: (ee chemrerapy treatments. restoractve sergerty Due to the condition.

it is medically necessary for the patient to receive multiple treatments.

O None of the above: If none of the above condition(s) were checked. (Le.. inpatient care. pregnancy )
no additional information is needed. Go to page + to sign and date the form.

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Employee Name: Ryan Wagner _ ee
(4) If needed, briefly describe other appropriate medical facts related to the condition(s) for which the employee seeks

FMLA leave. (e.g. we ofnebulizer. dialysis) Ryan experiencas frequent, intense panic attacks, severe anxiety and agoraphobia These epis¢ av
particularly triggered specific workplace stressors, including cred Ganltact wilh certain calle: mae epee? valy in frequency and intensty Teadin: '

PART B: Amount of Leave Needed

For the medical condition(s) checked in Part A, complete ail that apply. Several questions seek a response as Lo the frequenes
or duration of a condition, treatment, etc. Your answer should be vour best estimate based upon your medical knowledge.
experience, and examination of the patient. Be as specific as you can; terms such as “lifetime.” “unknown,” or “indeterminate”
may not be sufficient to determine FMLA coverage.

(5) Due to the condition, the patient (@ had / @ will have) planned medical treatment(s} (scheduled medical visits]
(e.g. psvchatherapy, prenatal anpeinmrents) an the following, date(s): Twice per week, Mondays and Wednesdays
Ryan has been in dagoirig psychotherapy and using stress recuetion strategies. Despite these Treatments, he TONtNUES To Expenence enisodes S Wel are UNprediciahia anu signhicaniy impair ts
ability to work. He reports that episodes ate particularly exacerbated by the hostile interections and environment in his workplace. His symptoms allow him to work in a limiled capacity from home an
non-conseculive-days-or-suiside tequiar business trours—WVerkang fom name is essential ie mitigate the impact oie este workplace triggers and ator iurrte etter Mratage Came atacksend
agoraphobia. .. . - . ‘ < .
(6) Due to the condition. the patient (@ was / 0 will be) referred to other health care provider(s) for evaluation or

{ treatment(s).

State the nature of such treatments: e.g. cardiologist, pinvsical therapy) Medication management! Psychiatry

Provide your best estimate of the beginning date 01/16/24 (mm dd vv) and end date Ongoing _
(mmddyy) for the treatment(s).

Pravide your best estimate of the duration of the treatment(s). including any pertad(s) of recovery fy 3 dave weeks
Ryan will continue 2 sessions a week as symptoms persist, with ability to increase if needed.

(7) Due to the condition, it is medically necessary for the employee to work a reduced schedule.

Provide your best estimate of the reduced schedule the employee is able to work. Fram O1/04/24
(mamvddyrry) to Ongoing @needd yyy) the emplavee is able ta work: reg. 5 hours dav, up te 25 hours a weeks

As his condition allows, Ryan may be able to work intermittently, varying week te weeks. Ability to wark from home 's essential due to inqgers linked to the hastile work
environmentandtis-symptoms are more manageable at tame:
(8) Due to the condition, the patient (C1 was / O will be) ineapacitated for a continuous peried of time, including any

time for treatment(s) and/or recovery.

Provide your best estimate of the beginning date aumddavvy and end date
¢mnvdd yyy) for the period of incapacity.

(9) Due to the condition, it (BB was / @ is / B will be) medically necessary for the employee to be absent from work an
an intermittent basis (periodically), including for any episodes af incapacity te. episodic flare-ups. Provide your
best estimate of how often (frequency) and how long (duration) the episodes of incapacity will likely last.

Over the next 6 months. episodes of incapacity are estimated to accur 1-3 limes per
(2 day / & week / month) and are likely to last approximately 1-2 — (A hours / Ef days) per episade
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Employee Name: Ryan Wagner

PART C: Essential Job Functions
If provided, the information in Section [ question 44+ may be used to answer this question. If the employer fails to provide

statement of the employee's essential functions or a job description. answer these questions based upon the emplay ces ov
description of the essential job functions. An emplayvee whe must be absent from work ta receive medical treatments)

as scheduled medical visits. for a serious health condition ts considered to be net able ta perform the essential jab functions
of the position during the absence for treatment(s).

(£0) Due to the condition, the employee (O1 was not able / 0 is net able / 0 will not be ablet te pertorm cee or eer

af the essential jab function(s}. Identify at least ene essential foh funetion the employee is mat able io periern
Ryan experiences panic atlacks, anxiety and agoraphebia which severely land bis abukty te Commute to, and funchan in, a rediton c t
functions impacted incite tasks that Tequie Dhysival presence tr the citice, suchas I pErsan mest WIS HESS COTA aNT BE urate tate
episades of heightened agoraphobia, especially when tnggered by direct interaction veth specific individuals in the work place, working fram hom

reasonable accommodation. During severe eisodes, Te 1s Meapacilaled and Unswle 1 PETIT any Wark TONS WSIST TEMOIETS OF THT Ie OF

meena fate of My |
WARL LC -v Date 01/22/24 tram dav

Health Care Provider

Definitions of a Serious Health Condition (See 29 CER. gf 825, 113-115}

inpatient Care

2° An avernight stay in a haspital, hospice. or residential medical care facility.

e Inpatient care includes any period of incapacity or any subsequent treatment in connectian with the overnight stay |

Continuing Treatment by a Health Care Provider (any one or more of the following |

Incapacity Plus Treatment: A peried of incapacity of more than three consecutive, tull calendar davs. and any subsequent ireatment |
or pertad af incapacity relating to the same condition. that also involves either: |

Two of more in-person visits to a health care provider for treatment within 30 days of the first day of incapacity unless
extenuating circumstances exist. The first visit must be within seven days of the first day of incapacity: or. |

© At least one in-person visit to a health care provider for treatment within seven days of the first day of incapacin. whieh |
results In a regimen of continuing treatment under the supervision of the health care provider. For example. the health |
provider might prescribe a course of prescription medication or therapy requiring special equipment.

Pregnaacy: Any period of incapacity due to pregnancy or for prenatal care.

Chronic Conditions: Any period of incapacity due to or treatment for a chronic serious health condition. such as diabetes, asthma,
migraine headaches. A chronic serious health condition is one which requires visits to a health care provider Cor nurse supe tsed by
the provider) at least twice a vear and recurs aver an extended period of time. A chronic condition may cause episodic rather than a
continuing period of incapacity

Permanent ar Lang-term Conditions: A period of incapacity which is permanent ar long-term due ta a canditien for which
treatment may nat be effective. but which requires the continuing supervisten ofa health care provider, such as Alzheimer’s disease
or the terminal stages of cancer.

Conditions Requiring Multiple Treatments: Restorative surgery after an accident or other injury: or, a candition that would likely
result in a period of incapacity of mare than three consecutive, full calendar days tf the patient did not receive the treatment.

PAPERWORK REDUCTION ACT NOTICE AND PUBLIC BURDEN STATEXIEN?
If submitted, it is mandatory for emplovers to retain 4 copy af this disclosure in their records for three vears 29S C$ 26do, 290 Fg SIS SU Persais
are nat required to respond to this collection of information unless ut displays a currently valid OME control number Mie Department of Labor estimates
that it will take an average of 15 minutes for respondents to complete this collection of information, including the Gine lor restewing imstructions, searching
existing data sources, gathering and maintaming the data needed, and completing and reviewing the collection of information [ff yeu have any comments
regarding this burden estimate or any other aspect of thes colleetion tnformatron, including suggestions for ceducug this burden. sen them te: thie
Administrator, Wage and Hour Uivistan, (1S Department of Labor, Room $-3502, 200 Constitution Avenue NW Washington [PC 20210

DO NOT SEND COMPLETED FORM TO THE DEPARTMENT GF LABOR. RETURN TO THE PATIENT.

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From: Rich Hartman

Sent: Thursday, January 25, 2024 5:40 PM

To: Ryan Wagner

Subject: Re: Clarification on FMLA Leave and Core Job Functions
Attachments: Ryan Wagner WH-380-E Certificate of HCP.pdf

Hi Ryan,

Thank you for providing FMLA paperwork completed by your healthcare provider on January 22, 2024. While we
believe the time off you are seeking may ultimately be covered by the FMLA, we write seeking clarification
regarding certain information in that certification form, which we need to designate your time off as FMLA. | also
wish to provide further clarification with regard to our expectations in response to certain information in the
certification form and the email you sent with it.

Your healthcare provider indicates that you have a chronic condition that requires planned medical treatments on
Mondays and Wednesdays. In response to Question 5, your provider does not indicate whether such planned
appointments occur during the workday and/or necessitate you to take time off from work. Please have your
provider clarify the time of such appointments and the amount of time off from work that you will need to attend
them. In response to Question 6, your provider states that you will continue 2 sessions a week, which we assume
relates to the sessions described in response to Question 5. If in fact this is two additional medical appointments
that you will have each week (i.e., 4 in total), please similarly have your provider indicate the time of day of those
appointments and the amount of time off you will require to attend them.

In response to Question 7, your provider states that you will be able to work an intermittent schedule week to
week, and that working from home may make your symptoms more manageable. In response to Question 9, your
provider states that over the next six months, you may experience 1-3 periods of incapacity per week, lasting
approximately 1-2 days per episode. Please ask your provider to confirm that the leave described in response to
Question 9 is the “varying” and “intermittent schedule” being described in response to Question 7 and that you do
not in fact need to work a reduced schedule each week other than in the event of a flare up as described in
Question 9. If that understanding is incorrect, please ask your provider to clarify what reduced schedule you need
each week, in addition to the time off you may need for a flare up.

| am enclosing a copy of your FMLA Certification for your convenience. Please have your provider answer these
questions and provide clarification within seven (7) days. You can return the information to me via email. Failure to
timely return this information may result in your loss of the protections guaranteed by the FMLA.

Within your FMLA paperwork, your healthcare provider identifies two requests that really are more appropriately
considered as requests for accommodation: the ability to work from home and the ability to work outside of
regular business hours. As your provider acknowledges, there are certain elements of your job that must be
performed in the office. Itis not clear whether your provider is stating that you are not able to work in the office at
all or whether you are simply limited in some fashion from being able to do so. Please ask your provider to clarify
this response so that we can consider whether we can accommodate you in this regard. In addition, the vast
majority of your job duties are to be performed during regular business hours, when your colleagues are also
working. Your provider does not explain why you need to work outside of regular business hours or how such an
accommodation would allow you to perform your essential job functions. We also seek confirmation that you are
in fact generally able to work regular business hours, subject to the flare ups and need to attend medical
appointments as described above.

| of 3

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While we await this clarification, and to the extent you take any time off due to this condition moving forward, |
want to reiterate the requirement that you provide advanced notice to Glenn and to me as soon as you become
aware of the need to take leave. Our regular working hours are normally an 8 hour window between 7 am and 6 pm.
If at any point during those regular working hours you realize that you are in need of leave, you can send an email,
copying me and Glenn, simply stating that you are going to be taking FMLA beginning at a particular day/time and
that you anticipate returning to work at a particular day/time. To the extent that information changes because you
realize you need more or less leave than initially anticipated, please provide an updated email to the two of us,
advising how much time off you then intend to take. Absent an emergency or documented inability to do so, this
notice should be provided prior to the start of your taking time off. During the time you are taking FMLA, as we
previously advised, you will be relieved of all job responsibilities. To the extent you do not notify us of your need for
leave as described here, we will assume you are working and performing your assigned duties.

Finally, we seek clarification regarding the time off you have taken since the beginning of the year that is related to
the health condition for which you are now seeking FMLA. Particularly, we wish to understand any time off you took
during the regular working hours identified above, which may have prevented you from performing the job duties
we otherwise would have expected you to perform. As you are aware, there are a number of assignments that have
not been completed, and to the extent that is the result of your need for leave, which ultimately is covered by the
FMLA once we receive Clarification and are able to designate it as such, such delay would be excused. If you
maintain that you nave not taken any time off to date, we wish to get a better understanding from you regarding the
status of these assignments, what is causing delay, and how we can ensure they are completed in a timely way. It
would probably be best for you, Glenn, and | to meet together to discuss this.

As always, if you have any questions about the information in this email, please do not hesitate to contact me.

Rich Hartman
VP of People and Culture

Ohana Growth Partners, LLC

OHANA

“Culture eats strategy for breakfast”

From: Ryan Wagner <Ryan.Wagner@ohanagp.com>

Sent: Tuesday, January 23, 2024 3:30 PM

To: Rich Hartman <Rich.Hartman@ohanagp.com>

Subject: Clarification on FMLA Leave and Core Job Functions

Greetings Rich,

Thank you for your detailed communication regarding FMLA policies and expectations. | am writing to provide
clarification on my current situation, specifically regarding my intermittent FMLA leave and the execution of my
core job functions during this period.

2 of 3

FMLA & ADA Page # 15 of 33 EXHIBIT 102

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Enclosed is the completed FMLA form, as requested. My health condition requires intermittent FMLA leave,
meaning there will be times when | am fully capable of performing my core job functions, and others when! am
unable. My intention is to remain as productive as possible during my periods of wellness while strictly adhering to
FMLA guidelines.

My role as Vice President of IT involves critical functions that often require my attention. These include overseeing
IT operations, supervising the IT team, and contributing to strategic IT initiatives like the 2024 IT Roadmap and
budget. The intermittent nature of my health condition means that providing advance notice of the exact times |
will be working is challenging. However, | assure you that during the periods | am able to work, | will focus on
critical tasks that align with my role’s core responsibilities.

Given the unpredictability of my health condition, | will make every effort to ensure that my work activities during
intermittent FMLA leave are documented and transparent. This approach aims to maintain compliance with FMLA
provisions while ensuring the continuity of essential IT functions at Ohana Growth Partners.

| understand and respect the importance of adhering to FMLA guidelines and Ohana's policies. Should there be
specific protocols or procedures you recommend for me to follow during this period, |am open to suggestions and

will strive to incorporate them, balancing my health needs with my professional responsibilities.

Your support and understanding in this matter are greatly appreciated. | am committed to upholding both my
health and my professional obligations to the best of my ability.

Respectfully,

This message may include text created with the help of natural language processing.

Ryan Wagner
Vice President of IT
Ohana Growth Partners, LLC

OHANA 28 teas

“Culture eats strategy for breakfast”

3 af 3

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Megan Robison, LCSWC LLC
Mental Health Therapist

January 31, 2024

Dear Mr. Hartman,

| am writing in response to your questions regarding Ryan Wagner's FMLA documentation.

Ryan has been and will continue meeting with me twice a week, on Monday and Tuesday during
business hours. He has reported symptoms prior to and after appointments, lasting multiple hours,
which impact his ability to complete work related tasks. He does have the ability to request urgent
appointments in response to severe flare-ups, however these are not currently scheduled.

The intermittent FMLA leave is specifically for flare-ups as described. Ryan does not require a
consistently reduced work schedule each week. His work capacity is directly affected by these
episodic flare-ups, during which he is unable to work.

Due to the nature of Ryan's condition, working in a traditional office environment is very challenging.
Accommodations such as the ability to work from home and flexible working hours are essential for
Ryan to perform his job functions effectively. His condition severely limits his ability to commute to
and function in a traditional office setting. Currently his symptoms severely limit his ability to work in
the office, however his goal is to return to the office. Additionally, Flexible working hours allow Ryan to
attend appointments, manage symptoms and continue to complete work when able.

Please contact me with any additional questions or concerns.

Thank you,

hy LAy  Leaw-e

Megan Robison, LCSW-C
MD License # 24852

5105 Thomas Avenue, Baltimore, MD 21236 | 443-814-9411 | meganrobisonicswc@gmail.com
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Certification of Health Care P

Ob OF: rovider for U.S, Department of Labor =] /)
Employee's Serious Health Condition Wage and Hour Division at
under the Family and Medical Leave Act

WAGE ANG HOUR Division

DO NOT SEND COMPLETEL

+ 2 FORM TO THE DEPAR TMENT OF LABOR.
RETURN TO THE PATIENT.

OMB Control Number 1235-01003

Expires 6/30/2023
The Family and Medical Leave Act (FMLA) provides that an employer may require an employee seeking FMLA protections
because of a need for leave due to a serious health condition to submit a medical certification issued by the employee's
health care provider. 29 U.S.C. §§ 2613, 2614(c)(3): 29 CER. § 825.505. The emplover must give the employee at least
15 calendar days to provide the certification. [f the emplovee fails to provide complete and sufficient medical certification,
his or her FMLA leave request may he denied. 29 C.F_R. § 825.313. Information about the FMLA may be found

WHD website at www del caviane
WHD website at wa

an the
avencies whd/tmla.

SECTION I—-EMPLOYER

Either the emplovee or the employer may complete Section |. Whil
care provider for the informatian necessary for a complete and suffi
§ 825.306. You may not ask the employee to provide
29 C.F.R. §§ 825.306-825.308. Additionally,
newborn child or a child pl

© use of this form is optional, this form asks the health
cient medical certification, which is set out at 29 C.F.R.
more information than allowed under the FMLA regulations,
you may not request a certification for FMLA leave to bond with a healthy
aced for adoption or foster care.

Employers must generally maintain records and documents re

recertifications, or medical histories of employees created for FMLA purposes as confidential medical records in separate
files/records from the usual personnel files and in accordance with 29 C.F.R. § 1630.14(c)(1). if the Americans with
Disabilities Act applies, and in accordance with 29 C.F.R. § 1635.9, if the Genetic Information Nondiscrimination Act

lating to medical information, medical certifications,

applies.
(1) Employee name: Ryan Wagner
First Middle Last
(2) Employer name: Ohana Growth Partners Date: 01/08/24 Gum dd yy)

(List date certification requested)

(3) The medical certification must be returned by 01/24/24 tmmidd 399)
(Must allow at least 15 calendar days from the date requested, wiless tt ix nat feasible despite the emplovee’s diligent, goad faith efforts.)

(4) Employee's job title: Vice President of Information Technology
Employee's regular work schedule: 40+ hours per week —
Statement of the emplavee’s essential job functions: Work w/executive leadership to develop and maintain IT
toadmap and oversee day-to-day operations.

(The essential functions of the eniplovee's posttion are determined with reference to the position te emplovee held at the time the emplavee

Job description (EI is / 0 is not) attached.

netiied the emplover of dre need far leave or the leave started. whichever ts earlier |

SECTION I - HEALTH CARE PROVIDER

Please provide your contact information. complete all relevant parts of this Sonat ee ee Eee your pent has
requested leave under the FMLA. The FMLA allows an employer to magpie that the emp ovee =e an “me y et ip eles
and sufficient medical certification to support a request for FMLA leave due to the serious ee Aha a ine ork ayer!
For FMLA purposes. a “serious health condition” means an illness. injury, impairment, er Pp iy a Rape as that
involves inpatient care or continuing treatment by a health care provider. For more information abe ec sof;
serious health condition under the FMLA, see the chart on page 4.

You may, but are not required lo, provide other appropriate medical facts including symptoms, diagnosis. or any wei
<< a Ie a : .
“tt F ializ ipme ase 2 that some state or local laws may not allow
inuing ent such as the us specialized equipment. Please note tha may n

of continuing treatment such as the use af spe equ BuY SOME SiSar a wes ide Hidteells

disclosur of pr ivate medical information about the patient's serious health condition, such as providing the diagnosts and/or

isclosure rivate 2
course of treatment.

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Employee Name: Ryan Wagner

Health Care Provider's name: (Prin) Megan Robison, LCSW-C

Health Care Provider's business address:

Type of practice / Medical specialty: Mental Health Therapist, LCSWC |

Telephone: (443) 814-9411 Fax:() E-mail: meganrobisonicswc@gmail.com

PART A: Medical Information

Limit your response to the medical condition(s) for which the employee is seeking FMLA leave. Your answers should be
your best estimate based upon your medical knowledge, experience, and examination of the patient. After completing
Part A, complete Part B to provide information about the amount of leave needed. Note: For FMLA purposes,
“incapacity” means the inability to work, attend school, or perform regular daily activities due to the condition, treatment
of the condition, or recovery from the condition. Do not provide information about genetic tests. as defined in 29 C.F.R. §
1635.3(f), genetic services. as defined in 29 C.F.R. § 1635.3(e), or the manifestation of disease or disorder in the employee's

family members, 29 C.F.R. § 1635.3(b).

pnedd yvvv)

(1) State the approximate date the condition started or will start: 05/15/13

(2) Provide your best estimate of how long the condition lasted or will last: Permanent

(3) Check the box(es) for the questions below, as applicable. For all box(es) checked. the amount of leave needed must be
provided in Part B.

O Inpatient Care: The patient (D1 has been / 0 is expected to be) admitted for an overnight stay in a hospital.
hospice, or residential medical care facility on the following date(s):

O Incapacity plus Treatment: (e.g. outpatient surgery, strep throat)
Due to the condition, the patient (CJ has been / (1 is expected to be) incapacitated for more than three
(anvdd yvvy) tO (nda vv).

consecutive. full calendar days from

The patient (O was / O will be) seen on the following date(s):

The condition (C1 has / 0 has not) also resulted in a course of continuing treatment under the supervision of a
health care provider (eg prescription medication (other than over-the-counter) ar therapy requiring spectal equipatent)

founded yvyu).

O Pregnancy: The condition is pregnancy. List the expected delivery date:

B Chronic Conditions: ‘¢.g. asthma, migraine headaches} Due to the condition, it is medically necessary for the patient

to have treatment visits at least twice per year.

@ Permanent or Long Term Conditions: (e.g. Acheimer’s, terminal stages of cancer) Due to the condition, incapacity
is permanent or long term and requires the continuing supervision of a health care provider (even if active

treatment is not being provided).

BH Conditions requiring Multiple Treatments: (c.g. chemotherapy treatments, restorative surgery) Due to the condition,

it is medically necessary for the patient to receive multiple treatments.

Ol None of the above: [fnone of the above condition(s) were checked, (i-e.. inpatient care, pregnancy)
no additional information is needed. Go to page 4 to sign and date the form.

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Employee Name: Ryan Wagner

(4) If needed. briefly describe other appropriate medical facts related to the condition(s) for which the employee seeks

FMLA leave. fe... use of nebulizer, dialysis)
The patient expenences frequent, nlense panic attacks, severe arnely, arid aqoraphotia: Thess epSaues are paricolanty nggered by spenfic workpisce Stressors inoiuding direct coms with Geran indedua's
at work. The condition vanes in frequency and or leading fo: iipeanient ay that eee the patient from, et or resins oe ectivilies aun episodes. The patient undergoes

ongaing

FMLA leave for recovery.
PART B: Amount of Leave Needed
For the medical condition(s) checked in Part A, complete all that apply. Several questions seek a response as to the frequency
or duration of a condition, treatment, ete. Your answer should be your best estimate based upon your medical knowledge.
experience, and examination of the patient. Be as specific as you can: terms such as “lifetime,” “unknown,” or “indeterminate”
may not be sufficient to determine FMLA coverage.

(5) Due to the condition, the patient (@ had / @ will have) planned medical treatment(s) (scheduled medical visits)

(e.g. psychotherapy, prenatal appoinnments) On the following date(s): Twice Per Week: Monday and Wednesday

Ongoing psychotherapy, medication management, and stress reduction strategies. Despite these treatments, the palient experiences episodes of incapacilation that are unpredictable and

significantly impair his work ability. These episodes are particularly exacerbated by the hostile interactions and environment in his workplace. The patient's condition allows hirn to work in a
limited capacity fronrheme-or-nen-censecative days oroulside requiar business -hours;as the conditierraliews—vorking fromhomeis-essentiat to mitigate lhe impact eHhe hostile werkplace

triggers and manage his panic attacks and agoraphobia.
(6) Due to the condition. the patient (0 was / 0 will be) referred to other health care provider(s) for evaluation or

treatment(s).

State the nature of such treatments: (e.¢. cardiologist, physical therapy)

Provide your r best estimate of the beginning date 01/16/24 (mmddyy) and end date _ ongoing

Provide your best estimate of the duration of the treatment(s), including any period(s) of recovery (e.g. 3 days week)
Regular ongoing sessions, approximately twice per week, with potential for increased frequency during periods of
heightened stress or episodes.

(7) Due to the condition, it is medically necessary for the employee to work a reduced schedule.

Provide your best estimate of the reduced schedule the employee is able to work. From 01/04/24
(mmiddAary) to Ongoing (mavddayyy) the employee is able to work: (¢.g.. 5 hours:day, up to 25 hours a week)

The patient is able to work intermittently as his condition allows, which may vary week to week. Ability to work from
home is essential due to condition tnagers linked to the hostile workplace environment.
(8) Due to the condition, the patient (HJ was / BI will be) incapacitated for a continuous period of time, including any

time for treatment(s) and/or recovery.

Provide your, , best estimate of the beginning date 12/21/23 (mmddyy) and end date
ing, as Epi are
epee cate smovddyxvv) For the period of incapacity.

Ryan experiences enisodic periods of incapacity due to his mental heallh condition. While these penods are not continuous in the traditional sense, they occur intermittently and unpredictably. Each
episode can incapacitate Ryan for a vanable duration, typically lasting from a few hours to several days. The exact frequency and length of these episodes vary, but they are recurrent and expected to

continue given the nature of his condition.
(9) Due to the condition, it (@ was / @ is / @ will be) medically necessary for the employee to be absent from work on

an intermittent basis (periodically), including for any episodes of incapacity i.e., episodic flare-ups. Provide your
best estimate of how often (frequency) and how long (duration) the episodes of incapacity will likely last.

Over the next 6 months. episodes of incapacity are estimated to occur 1-3 times per

(0 day / & week / month) and are likely to last approximately 1-2 (2 hours / & days) per episode.

The frequency and duration may vary based on workplace stressors and effectiveness of ongoing treatment.

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Employee Name: Ryan Wagner

PART C: Essential Job Functions

If provided, the information in Section | question #4 may be used to answer this question. If the employer fails to provide a
statement of the employee's essential functions or a job description, answer these questions based upon the employee's own
description of the essential job functions. An employee who must be absent from work to receive medical treatment(s), such
as scheduled medical visits, for a serious health condition is considered to be not able to perform the essential job functions

of the position during the absence for treatment(s).

(10) Due to the condition, the employee (@ was not able / BI is not able / & will not be able) to perform one or more
/ of the essential job function(s). Identify at least one essential job function the employee is not able to_perform:
The patient experiences panic attacks and agoraphobia which sevefely limit his ability to commute and function in a traditional office environment. Essential job functions that
are impacted include tasks that require physical presence in the office such as in-person meetings, on-site co i i i
situations. During episodes of heightened agoraphobia, especially when triggered by direct interaction with specific individuals in the workplace, working from home becomes
a necessary reasonable accommodation. During severe episodes, the patient is incapacitated and unable to perform any work functions, whether in the office or remotely,
necessiiating intermittent FMLA leave.

Signature of \, VI
Health Care Provider | AA

WA Lea L Date 03/12/24 (mm/dd/yyyy)

Definitions of a Serious Health Condition (See 29 C.F:R. §§ 825.113-.115)

Inpatient Care

e An overnight stay in a hospital, hospice, or residential medical care facility.
e Inpatient care includes any period of incapacity or any subsequent treatment in connection with the overnight stay.

Continuing Treatment by a Health Care Provider (any one or more of the following)

Incapacity Plus Treatment: A period of incapacity of more than three consecutive, full calendar days, and any subsequent treatment
or period of incapacity relating to the same condition, that also involves either:

o Two or more in-person visits to a health care provider for treatment within 30 days of the first day of incapacity unless
extenuating circumstances exist. The first visit must be within seven days of the first day of incapacity; or,

© At least one in-person visit to a health care provider for treatment within seven days of the first day of incapacity, which
results in a regimen of continuing treatment under the supervision of the health care provider. For example. the health
provider might prescribe a course of prescription medication or therapy requiring spectal equipment.

Pregnancy: Any period of incapacity due to pregnancy or for prenatal care.

Chronic Conditions: Any period of incapacity due to or treatment for a chronic serious health condition, such as diabetes, asthma,
migraine headaches. A chronic serious health condition is one which requires visits to a health care provider (or nurse supervised by
the provider) at least twice a year and recurs over an extended period of time. A chronic condition may cause episodic rather than a

continuing period of incapacity.

Permanent or Long-term Conditions: A period of incapacity which is permanent or long-term due to a condition for which
treatment may not be effective, but which requires the continuing supervision of a health care provider, such as Alzheimer’s disease

or the terminal stages of cancer.

Conditions Requiring Multiple Treatments: Restorative surgery after an accident or other injury; or, a condition that would likely
result in a period of incapacity of more than three consecutive, full calendar days if the patient did not receive the treatment.

PAPERWORK REDUCTION ACT NOTICE AND PUBLIC BURDEN STATEMENT
If submitted, it is mandatory for employers to retain a copy of this disclosure in their records for three years. 29 LS.C. § 2616229 CFR. § $25,500. Persons
are not required to respond to this collection of information unless it displays a currently valtd OMB control number. The Department of Labor esamates
that it will take an average of 15 minutes for respondents to complete this collection of information, ineluding the time for reviewing instructions, searching
existing data sources, gathering and maintaming the data needed, and completing and reviewing the collection of information. [you have any conmients
regarding this burden estimate or any other aspect of this collection information, including suggestions for reducmg this burden, send them to the
Administrator, Wage and Hour Division, U.S. Department of Labor, Room $-3502, 200 Constitution Avenue, NW., Washington, D.C, 20210

DO NOT SEND COMPLETED FORM TO THE DEPARTMENT OF LABOR. RETURN TO THE PATIENT.

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Phone: 102.232-4270

ce et atic Life 3 (628 (1h Seren, NW’ Fasc 102-232-4194
VS Frac. ea oe ee

November 23, 2013

To whom it may concern.

This is to provide documentation about Mr. Ryan Wagner's medical candition. Mr.
Wagner is a patient under my care who ( have diagnosed with Posttraumatic
Stress Disorder and Panic Disorder with Agoraphobia; mental impairments that
substantially limit the following major life activities as compared to most people
in the general population; concentrating interacting with others, maintaining
social relationships, sleeping, eating, and the operation of the digestive system
and bowel. Mr. Wagner has been under my medical care since May 2013, during
which time he was evaluated and started on treatment. He receives both
psychotherapy and medication management treatment. Mc. Wagner's mental
impairments are permanent. Physical symptoms of his mental impairments,
including sleep and appetite disturbances are episodic and recurring, they impair
his major life activities when they are active. Mr. Wagner has, in the last few
weeks, experienced an increase in active symptoms, resulting in Ryan requiring
additional treatment sessions and emergency medical care

Given the nature of his mental impairments, Mr. Wagner needs reasonable
accommodation under the ADA or the Rehabilitation Act of 1990 and its
subsequent 2008 amendment. Specifically, Mr. Wagner requires a flexible work
schedule that permits him to attend regularly scheduled treatment sessions and
emergency treatment sessions, and permits him to perform work from home
when he experiences symptoms of his mental impairments

Should you need additional information or questions, | may be contacted as
indicated on this letter-header either by telephone or email

Sincerely, x
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Vy * }
Maguy Destin-Jeanty, MD

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Subject: RE: [EXTERNAL] Request for ADA Assistance

From: Amira Savoy <Amira.Savoy@mdcourts.gov>

To: "ryan@mxt3.com" <ryan@mxt3.com>

Date Sent: Tuesday, July 30, 2024 9:29:19 AM GMT-04:00
Date Received: Tuesday, July 30, 2024 9:29:22 AM GMT-04:00

Your request to amend was reviewed by the judge and the judge’s ruling is to keep their first ruling the same.

Best,

Amira Savoy

Interpreter/ ADA Coordinator
Baltimore County Circuit Court, Suite 101-A
401 Bosley Avenue Towson. MD 21204
410-887-4818

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From: Ryan Wagner <ryan@mxt3.com>

Sent: Monday, July 29, 2024 5:44 PM

To: Amira Savoy <Amira.Savoy @ mdcourts.gov>
Subject: Re: [EXTERNAL] Request for ADA Assistance

Am | supposed to do something differently to amend my request? The ruling indicates that they treated this as a first
request and not a request to amend?

On Thu, Jul 25, 2024 at 4:09 PM Amira Savoy <Amira.Savoy@mdcourts.gov> wrote:

Please see attached ruling.

Amira Savoy

Interpreter/ ADA Coordinator
Baltimore County Circuit Court, Suite 101-A
401 Bosley Avenue Towson. MD 21204
410-887-4818

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From: Amira Savoy

Sent: Wednesday, July 24, 2024 1:31 PM

To: Ryan Wagner <ryan@mxt3.cam>

Subject: RE: [EXTERNAL] Request for ADA Assistance

| can accept the attached ADA form as a request for accommodation of future hearings but | did not want you to think it
was being accepted as a request for a trial date.

Amira Savoy

Interpreter/ ADA Coordinator
Baltimore County Circuit Court, Suite 101-A
401 Bosley Avenue Towson, MD 21204

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FMLA & ADA Page # 23 of 33 EXHIBIT 102

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410-887-4818

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From: Ryan Wagner <ryan@mxt3.com>

Sent: Wednesday, July 24, 2024 1:23 PM

To: Amira Savoy <Amira.Savoy @mdcourts.gzov>
Subject: Re: [EXTERNAL] Request for ADA Assistance

Sorry for the confusion. The instructions on the form suggested that | need to complete a separate
form for each trial/nearing, and | was submitting my request for accommodations for the civil case
trial.

If that form will apply to all trials and hearing moving forward, then my question is what | file to
amend my previous request?

From: Amira Savoy <Amira.Savoy @mdcourts.gov>
Sent: Wednesday, July 24, 2024 1:16 PM

To: ryan@mxt3.com <ryan@mxt3.com>

Subject: RE: [EXTERNAL] Request for ADA Assistance

A request for a trial date and an ADA request are not the same thing.
Please file an appropriate request in you case with the clerk's office as | cannot accept filings in your case.
Your ADA request has already been ruled on for future hearing dates, if you have any in the future.

Best,

Amira Savoy

Interpreter/ ADA Coordinator
Baltimore County Circuit Court, Suite 101-A
401 Bosley Avenue Towson, MD 21204

410-887-4818

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From: Ryan Wagner <ryan@mxt3.com>
Sent: Wednesday, July 24, 2024 1:02 PM

To: Amira Savoy <Amira.Savoy@mdcourts.gov>
Subject: Re: [EXTERNAL] Request for ADA Assistance

Thank you for your assistance.

The Plaintiff has withdrawn their Petition to Show Cause and there will be no trial on August 7, 2024.

We do not have a trial date for the Complaint, but attached is the request for that trial. | have adjusted the request
based on the Court notes. | understand why the Judge ruled a partial denial, and the misunderstanding is my fault.
Hopefully, this clarifies what is being requested.

with gratitude and appreiciation,

RDC

On Mon, Jul 22, 2024 at 2:36 PM Amira Savoy <Amira.Savoy@mdcourts.gov> wrote:
Please see attached ruling on your ADA request.

Best,

Amira Savoy

Interpreter Coordinator
Baltimore County Circuit Court
401 Bosley Avenue, Suite 101-A
Towson, MD 21204

410-887-4818

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From: Ryan Wagner <ryan@mxt3.com>

Sent: Tuesday, July 16, 2024 8:21 PM

To: Amira Savoy <Amira.Savoy @mdcourts.gov>
Subject: Re: [EXTERNAL] Request for ADA Assistance

Thank you for this information. | am including 3 of the Exhibits from the case. Exhibit 1B is my ADA letter from the
diagnosing psychiatrist in 2013 and the 2024 therapist who completed the FMLA form. Exhibit 1E is the FMLA form.
Exhibit 5A is my wife's Affidavit; while not my therapist nor specializing in this area, she is a licensed C therapist who
has experience in trauma therapy. | want to share more, but | am out of respect for the court's time and trying to
moderate my verbose nature. | will provide anything else | have to give and appreciate the opportunity to clarify and
deliver anything necessary if it could prevent a denial.

With gratitude and appreciation,

RDC

On Thu, Jul 11, 2024 at 12:18 PM Amira Savoy <Amira. Savoy @mdcourts.gov> wrote:

Good afternoon,

Please fill out the attached ADA request form and email back to me with your request to appear remotely for your

hearing on August 7h at ipm. | will have a judge rule on it and | will email you their decision.

Additionally, any documents from your case can be requested through the civil department, their phone number is
410-887-2622.

Best,

Amira Savoy

Interpreter/ ADA Coordinator
Baltimore County Circuit Court. Suite 101-A
401 Bosley Avenue Towson, MD 21204

410-887-4818

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FMLA & ADA Page # 26 of 33 EXHIBIT 102

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an Ly t:

From: Ryan Wagner <ryan@mxt3.com>

Sent: Wednesday, July 3, 2024 3:59 AM

To: Amira Savoy <Amira.Savoy@mdcourts.gov>: Kristina Ivins <Kristina.lvins@mdcourts.gav>
Subject: [EXTERNAL] Request for ADA Assistance

Greetings and Salutations,

| apologize for reaching out via email, but | have encountered difficulties in following the
prescribed procedures. Despite my efforts, | find myself either starting over repeatedly or
becoming sidetracked.

The plaintiff was aware of my intention to file a protective order and preemptively filed one
themselves. They scheduled a hearing and sent the notice to an email address my employer
(the plaintiff) instructed me not to use. Consequently, | was unaware of the hearing until it had
already occurred. My attorney was unable to respond in time due to bereavement and a
prescheduled conference, resulting in a refund of my fees and my need to proceed pro se.

The TRO issued against me requires actions that are impossible to comply with, as the plaintiff
has ordered me to restrict my own access, which | did by doing something with the key fob
needed to access the system. The same system the TRO says | must access. | have no idea
what | did with the key fob, but based on clues, it seems | took action to send it somewhere.
Under the current duress, my memory is deteriorating, and it is unreasonable to expect me to
remember actions taken during a period for which | have no memory when | am currently
struggling to recall where | am in the process of filing a motion or filling out a form for ADA
accommodations. The plaintiff demanded compliance within three hours of sending the TRO
judgment via email, which | received with barely an hour remaining. | used this time to seek legal
assistance and was advised to write a letter to the judge, which | did, accompanied by exhibits
that my former attorney and | intended to use in our filing. However, the judge ruled only on the
letter, treating it as a motion to modify the TRO. | believe it should have been considered a
motion to stay enforcement of the TRO to allow me to secure legal representation. This occurred
on the third business day.

By the following Wednesday, the plaintiff had filed a motion to show cause, and the preliminary
injunction had effectively become a summary judgment. During this time, my wife and |
contacted several attorneys, but none could assist at the pace required by the proceedings. On
the first day of the hearing, my motion to dismiss on jurisdictional grounds was poorly
articulated. The complexity of the matter necessitated a translator to explain the technical-legal
connections, which the judge did not understand despite referencing the correct relevant court
opinion from a cited case.

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FMLA & ADA Page # 27 of 33 EXHIBIT 102

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Something happened that day which resulted in a second day being scheduled. | remember
needing to find a key fob that only the judge and opposing counsel believed was in my home.
However, my wife tells me it appears | spent the entire night looking for it, as | had made virtually
no progress on my motion for a continuance. | arrived exhausted and sleep deprived. The judge
asked if | had anything to say. | managed to say "motion for a continuance" before the next word
on records was the judge saying denied. His subsequent comments seemed to dismiss my
PTSD, allowing him to rule without providing accommodations. | feel like the case was "won" by
the judge, as the transcripts of the second day show that my attorney's few words did not reflect
the day's outcome.

Since then, my wife has been assisting me to remain focused and organized. It took three days
to submit a motion to reconsider the denial of the continuance, which is now under review. We

have implemented a new system to help me stay organized, although | still experience periods
of lost time, such as spending three hours updating printer firmware without realizing it.

| need additional time and written records to manage my case effectively, and | need to attend
hearings remotely. This is not about what | can do normally but about being legally qualified for
accommodations. The ADA prohibits even a judge from ruling based on personal beliefs about
my disability. | was diagnosed with PTSD in 2013 by a psychiatrist, and | have a letter from
November 2013 confirming that my diagnosis qualifies me for accommodations under the ADA.
Additionally, | have been on intermittent FMLA leave with my employer since January 2024 for
my PTSD.

Thank you for your understanding and consideration. Please let me know if you need anything

from me.
Case is C-3-CV-24-002764

Ryan Dillon-Capps
1334 Maple Ave
Essex Md 21221
703-303-1113

ryan@mxt3.com

| strongly prefer text or email and schedule any calls.

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accomodated, as needed. The additional requests, such as advance questions and "a written record of
all conversations" are denied as unreasonable

I suffer from
frequent and
intense panic
attacks, severe
anxiety, and
agoraphobia,
which are known
to be triggered by
conflict and can
last for hours.
Symptoms include
twitching, shaking,
hyperventilating,
emotional
dysregulation,
memory issues,
catatonia, and
dissociative
behaviors.
Additionally, a
"fawning" trauma
response can
overlap with these
symptoms,
resulting in
inconsistent
responses and
fragmented or
inconsistent
memory recall. I
have difficulty
communicating in
a cohesive, linear
fashion, often
over-explaining,
looping and
repeating myself,
and hyper-focusing
on the literal
meaning of words.

Thad been living
with minimal
disruption to my
life until recently,
and some of these
symptoms are new
to me. My
therapist has
recommended and
referred me to
additional
resources,
However, all
requests for
additional time
have been denied,
and the time
normally required
by law has been
reduced.
Mandatory notices
were not provided,
T have been
omitted from all
prehearing
conferences, and
my motions are
either prematurely
denied or never
responded to. The
financial loss and
cost and threat of
jail prevents me
from obtaining the
care i need.

4 A

and imposing undue hardship. 07/22/2024 9:47:28 AM

Requests for accommodation should be submitted to the court not less than thirty (30) days
before the proceeding for which the accommodation is requested. Specific case-related questions
(e.g. postponements) should not be made on this form.

“Lorern® Located at 401 Bosley Ave, Towson, MD 21204

s*"ty, [] SUPREME COURT OF MARYLAND ©] APPELLATE COURT OF MARYLAND

&] CIRCUIT COURT [J DISTRICT COURT OF MARYLAND FOR — en

“ity County

Telephone (410) 887-2139
Court Address Re ARES, ae)
STATE OF MARYLAND Case No, ©-03-CV-24-002264

or

Ohana Growth Partners, LLC

Plaintiff/Petitioner

REQUEST FOR ACCOMMODATION FOR PERSON WITH DISABILITY

a

Requests for accommodation should be submitted to the court not less than thirty (30) days before the
proceeding for which the accommodation is requested.

ve; yan Dillon Capes

~ Defendant/Respondent

Name of person needing accommodation: Ryan Dillon-Capps
Name of person requesting accommodation (if different person):

Person needing accommodation is: &] Party [2 Witness [] Juror C1 Prospective Juror &] Attorney

C) Victim ( Victim's Representative © Other (specify):

Applicant requests accommodation under Americans with Disabilities Act (ADA) as follows:

1. Type of court proceeding:
LC) Criminal &) Civil O Traffic 0 Juvenile 0 Family 0 Other (specify):

2, Hearing/Trial date (if any); August 7, 2024 Time: 1:00 PM_
3. Nature of disability or impairment (specify): P

4. Type of accommodation(s) requested. Be specific. remote anendance when possible, frequent breaks, additional time to prepare,
all questions provided in advance and the ability to provide the court with additional or corrected information. A written record of all conversations and
proceedings. All binding agreements or statements must be affirmed in-writing and outside of adversarial space-and4ime.A-court-appointed advecate to
ensure a fair judicial process.

NOTE: If requesting a sign language interpreter, specify type: American Sign Language interpreter (ASL),
Certified Deaf Interpreter (CDI), or Communication Access Real Time Translation (CART). If requesting a
spoken language interpreter, please use form CC-DC-041.

Please provide any further information that may assist the court in providing a reasonable
accommodation (specify):

&] I request that this information be kept confidential to the extent allowed by law.

I certify that to the best of my knowledge this information is true and correct. I agree to provide medical

documentation if required by the court. RAL

July 16, 2024

: Date Signature of Applicant/Applicant’s Representative
Ryan Dillon-Capps
Printed Name

1334 Ma

Attorney Number
703-303-1113

Telephone Number
Essex MD, 21221

Address City, State, Zip |
ryan(@mxt3.com
Fax E-mail

The clerks’s office and the ADA Coordinator are available to provide further assistance.

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CC-DC-049 (Rev. 12/2022) MRSPA

EXHIBIT 102

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OHANA GROWTH PARTNERS. LLC IN THE
PLANTIFF CIRCUIT COURT
FOR

RYAN DILLON-CAPPS BALTIMORE COUNTY

DEFENDANT FILE NO: C-03-CV-24-002264

AFFIDAVIT OF CAROLINE DILLON-CAPPS

1. Professional Background:

A. I am the wife of Ryan Dillon-Capps and a licensed Clinical Social Worker in
the state of Maryland, holding license number 23862, LCSW-C.

B. I received my LMSW in May 2018 and my LCSW-C in July 2023.

C. Ryan and I have known each other since 2021.

2. Observations of Decline in Mental Health:

A. Since the end of December 2023, I have closely observed a significant
decline in Ryan’s mental health condition. He has been diagnosed with
Post-Traumatic Stress Disorder (PTSD) and has experienced numerous
panic attacks, ranging from a few minutes to several hours. These panic
attacks are frequently accompanied by:

i. Dissociative Behaviors: Ryan experiences flashbacks, distressing
dreams (including talking in his sleep), recurring intrusive
memories, time loops, and episodes of losing track of time.

ii. Hyperventilation: During panic attacks, Ryan often
hyperventilates, struggling to regain normal breathing patterns.

iii. Catatonia: Since May 2024, I have witnessed Ryan go catatonic
multiple times, becoming unresponsive for varying periods.

iv. Memory Issues: Ryan frequently struggles with memory lapses
and confusion, often unable to recall recent events or information.
For instance, Ryan has been driving less, and on one occasion,
after we had lunch, Ryan could not remember where he parked.
We had arrived in separate vehicles and parked separately, so I
drove Ryan around to help him locate his car, which was found in
an adjacent parking lot.

v. Emotional Dysregulation: Ryan exhibits extreme emotional
dysregulation. He can be happy and optimistic one moment and
then show signs of depression the next. Conversely, he may
express excitement and optimism immediately after receiving
adverse information.

vi. Agoraphobia: Since April 2024, I have observed Ryan's
agoraphobia symptoms, where he feels uncomfortable and anxious

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being away from home. After our wedding, we planned a few days
away but had to return early because Ryan was extremely
uncomfortable being away from home.

3. Escalation of Symptoms:

A. Since May 21, 2024, Ryan's symptoms have progressively worsened,
Between May 21 and June 13, 2024, a series of events significantly
heightened my concern for his well-being. We had multiple conversations
about the possibility of hospitalization if his condition continued to
deteriorate.

B. Since June 13, 2024, Ryan's PTSD symptoms have become significantly
more severe, with longer durations and increased frequency. He has been
unable to complete basic tasks and has required my assistance to meet
his basic needs.

C. On June 17, 2024, I found Ryan hiding under a table in a dissociated
state, repeatedly saying that they were safe under there and expressing
confusion about whether this was real or a dream, and if I was a ghost.
During this event, Ryan kept asking me the same questions, and then
would ask why I kept saying the same thing.

4. Courtroom Observations:

A. On June 26 and 27, 2024, I attended a hearing at the Baltimore Circuit
Court, Courtroom 8, where I observed Ryan Dillon-Capps.

i. I entered the courtroom around 9:15-9:20 AM while the court was
in session. Upon entering, I noticed Ryan’s table was cluttered with
disorganized papers.

ii. While Ryan was speaking in court, he exhibited pressured speech
and struggled to answer questions appropriately. He had trouble
recalling information, which impacted his ability to respond
accurately.

iii. On the night of June 26th, Ryan's account of looking for the key
fob was portrayed as casually looking through his office. The
search began by Ryan in his office and me downstairs to search the
finished areas of the basement. When I came back upstairs, he had
pulled bins and drawers and appeared to be going through them
item by item. I joined Ryan, and we then had to go through
everything again as he put things away item by item. Ryan
mentioned that he went through the unfinished portion of the
basement but forgot to mention how we went through the entire
contents of the living room, dining room, upstairs guest bedroom,
our bedroom, and our bathroom before I went to bed. When I
woke up in the morning, the office was in disarray suggesting that
he had gone through it again and had spent the entire night
continuing to search the house.

iv. Ryan also mentioned that he contacted a lawyer from another state
but failed to recall that he had also asked me to contact attorneys

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with a letter and a list of conflicts he wrote. He also told me about
a scheduled meeting to speak with an attorney on June 24, 2024,
and has told me about other instances where he contacted other
attorneys in the weeks prior to June 13, including three other
attorneys that Ryan told me he had started talking with before they
found a conflict of interest. These are further examples of his
memory issues.

5. Personal Impact:

A. Rescheduling Client Appointments: Since June 13, 2024, I have had
to reschedule client appointments on multiple days in order to help Ryan
systematically.

B. Birthday Incident: On a personal note, my birthday is January 4, 1987.
On January 2, 2024, my mother arrived in Baltimore to visit us for my
birthday and to assist with our wedding planning, as our wedding was
scheduled for April 4, 2024. Unfortunately, Ryan was unable to participate
in birthday celebrations on January 4, 2024, due to experiencing
numerous panic attacks. His concern about my mother witnessing these
episodes added to his distress, leaving me torn between attending to my
mother and caring for Ryan.

C. Wedding Planning: During the wedding planning process, we
envisioned certain elements that were ultimately unattainable due to
ongoing harassment from Ohana Growth Partners, LLC. This harassment
severely hindered Ryan’s ability to engage in the planning process, which
he had been looking forward to.

I SOLEMNLY DECLARE ADN AFFIRM UNDER PENALTIES OF PURJURY AND
UPON PERSONAL KNOWLDGE THAT THE CONTRANTS OF THE FORGONG
PAPER AND EXHIBTS THERETO ARE TRUE

DATE: JULY 29, 2024
The date is wrong -- a technical error Pa es
because the system clock was 7-July Ws a
instead of 6-June, and the date was SS
generated when printed. [t was —
signed as printed. -RDC Caroline Dillon-Capps

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ai Case 1:24-cv-03744-BAH Document16-3 Filed 01/03/25 Page 33 of 33
DENIED 9

Please see previous Order granting in part and denying

in part.

Requests for accommodation should be submitted to the court not less than thirty (30) days
before the proceeding for which the accommodation is requested. Specific case-related questions
(e.g. postponements) should not be made on this form.

oy, 7] SUPREME COURT OF MARYLAND 1] APPELLATE COURT OF MARYLAND

+t = : “
07/25/2024 4:03:57 Hyg |=) CIRCUIT COURT © DISTRICT COURT OF MARYLAND FOR Baltimore County

City County

Crest Located at 40] Bosley, Ave Towson, MD 21204 Telephone 410-887-2139
Court Address
STATE OF MARYLAND Case No. £-03-CV-24-002264
or
Ohana Growth Partners. LLC ys, Ryan Dillon-Capps
Plaintiff Petitioner Defendant Respondent

REQUEST FOR ACCOMMODATION FOR PERSON WITH DISABILITY

Requests tor accommodation should be submitted to the court not less than thirty (30) days before the
proceeding for which the accommodation is requested.

Name of person needing accommodation: Ryan Dillon-Capps

Name of person requesting accommodation (if different person):
Person needing accommodation is: &) Party [J Witness ©) Juror (1 Prospective Juror &] Attorney

C] Victim ©) Victim's Representative © Other (specify):

Applicant requests accommodation under Americans with Disabilities Act (ADA) as follows:

|. Type of court proceeding:
CO Criminal &! Civil J Traffic & Juvenile 4 Family — Other (specify):

Hearing’/Trial date (if any): Time:
Nature of disability or impairment (specify): | suffer from frequent and mtense pantie attacks. severe anxiety. and agoraphobia. which

are known to be tiggered by conflict and can last for hours. Symptoms include twitching, shaking. hyperventilating. emouional dysregulation. memory

lt po

issues, catatonia. and disswciave behaviers. Addinonally. a "fiwning” trauma response can overlap with these symptoms. resultmg m meensistent
responses and fragmented or inconsistent memory reeall, [have difficulty commumicanng ina cohesive. linear fashion. often over-explaining. looping and
repealing myself. and hyper-focusing on the literal meaning of words

4. Type of accommodation(s) requested. Be specific. 1) Remote attendance when possible. 2) Frequent breaks 3) Additional ume to
prepare. meluding addinonal ume to respond answer oppose Hllings and lo submit my own fihnygs. 4) Opportunity to review and, if necessary, corre or
supplement information provided. Including the ability te clarify or amend statements made 1m court or in Written submissions without penalty. 3) A copy
of the audio recording and written transcript of all past and future court proceedings. 6) All binding agreements or statements must be affirmed in writng
and outside of adversarial space and ume. 7) A court appointed advocate to ensure a fair judicial process. helping me advocate for additional
accommodations tf they are necessary. and advocating for the enforcement of all granted accommodations.

NOTE: If requesting a sign language interpreter, specify type: American Sign Language interpreter (ASL), Certified Deaf
Interpreter (CDI). or Communication Access Real Time Translation (CART). If requesting a

spoken language interpreter. please use form CC-DC-041.

Please provide any further information that may assist the court in providing a reasonable accommodation

(specify): | had been living vith minimal disruption to my hfe until recently. and some of these symptoms are new to me. My therapist has recommended

and referred me to additional resources. However. [ currently lack the financial and legal stability necessary to obtain the help I need.

(X] [ request that this information be kept confidential to the extent allowed by law.
I certify that to the best of my knowledge this information is true and correct. [ agree to provide medical documentation if

required by the court. dD
July 24, 2024 : R C

Date : Signature of Applicant Applicant’s Representative Attorney Number
Ryan Dillon-Capps 703-303-1113
Printed Name — a a Telephone Number
1334 Maple Ave _ Essex MD 21221
Address City. State, Zip
ryan mxt3.com
Fax E-mail

The clerks’s office and the ADA Coordinator are available to provide further assistance,

CC-DC-049 (Rev. 12.2022) MRSPA

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